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                                                                      August 25, 2023

VIA ECF

The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


        Re:    United States v. Grinin et al., 22-CR-409 (HG)
Dear Judge Gonzalez:

          Defense counsel to Mr. Yermolenko and Mr. Konoschenok (“defense counsel”) submit this
letter in response to this Court’s proposed supplemental protective order. Counsel to Mr. Brayman
agree with the modifications to the Court’s proposed supplemental protective order, attached as
Exhibit A to this letter.1

         As discussed in defense counsel’s August 9, 2023, letter in response to the government’s
request for a supplemental protective order, Dkt. No. 71, the supplemental order imposes overbroad
restrictions on all discovery produced in this case, not just materials marked “sensitive” or
“attorneys’ eyes only.” The government has not established good cause for the blanket restrictions it
asks the Court to impose, and such blanket restrictions are generally disfavored, absent consent of
defense counsel. See United States v. DeJesus, 20-CR-397 (NGG) (S.D.N.Y. Aug. 28, 2020), Dkt. No.
49, Aug. 28, 2020 Tr. at 2 (“I am concerned that blanket protective orders are overbroad and that
they could potentially be chilling to defense counsel attempting to investigate the cases brought
against their clients.”); United States v. Carriles, 654 F. Supp. 2d 557, 565 (W.D. Tex. 2009) (noting
that “umbrella protective orders are disfavored”) (internal quotation marks and citations omitted).
Notably, the vast majority of protective orders cited by the government that involve similar blanket
restrictions were entered on consent. Here, defense counsel disagrees that the government has
established good cause for a blanket protective order based on the particular facts of this case—facts
known to government counsel at the time the original protective order was issued.

       Accordingly, defense counsel has added language to paragraphs 2, 3, and 21 of the proposed
supplemental order to remove the blanket restrictions on all discovery, and instead preserve the


1
 Defense counsel will also provide a Word version of Exhibit A to the Court and parties for the
Court’s convenience.
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original protective order’s limitation to discovery materials marked “Sensitive” or “Attorneys’ Eyes
Only.”2




2
 Additional modifications by defense counsel appear in green; the modifications previously made by
the Court and disclosed to the parties are included in purple.
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        In support of these modifications, defense counsel submits as Exhibit B a copy of the
transcript from an August 11, 2023 hearing in United States v. Donald Trump, 23-CR-257 (TSC)
(D.D.C. Aug. 11, 2023), in which the Court addressed—and rejected—a similar blanket restriction
sought by the government on all discovery. District Judge Tanya Chutkan was “not persuaded that
the government has shown good cause to subject to the protective order all the information in this
case.” Exh. B, United States v. Trump, 23-CR-257 (TSC) (D.D.C.) Aug. 11, 2023 Tr. at 29.
Accordingly, the Court determined “[t]he protective order will govern only materials that the
government designates as sensitive.” Id. at 29. As in Trump, any concerns the government has
regarding national security or ongoing investigations can be addressed by designating specified
materials as “Sensitive” or “Attorneys’ Eyes Only;” certainly, not all of the materials, including the
contents of the defendants’ own personal cell phones, can be considered a threat to national security
or ongoing investigations.

        Defense counsel to Mr. Yermolenko also submits, under seal, as Exhibit C, a small sample of
discovery produced by the government subject to the current protective order.3 As evidenced by this
sample, the materials the government has produced to date contain significant redactions, including
redactions to the names of potential witnesses, which seriously limits the risk of any interference
with ongoing investigations or national security risk. Additionally, the search warrant applications
rely heavily upon the publicly filed superseding indictment, Dkt. No. 6, to establish probable cause.
To say that all of the discovery in this case implicates national security and ongoing investigations
would be a farce. Instead, the Court should continue to require that the government meet the “good
cause” standard for any discovery that is subject to a protective order in this case, and thoughtfully
review and designate particular materials it believes meet that standard.

         Defense counsel to Mr. Yermolenko and Mr. Konoschenok also renew their August 9, 2023,
objection to the government’s restriction on defense access to discovery outside the United States as
unnecessary and unconstitutional. See Strickland v. Washington, 466 U.S. 668, 680 (1984) (“the Sixth
Amendment imposes on counsel a duty to investigate, because reasonably effective assistance must
be based on professional decisions and informed legal choices can be made only after investigation
of options.”); United States v. Padilla, 203 F.3d 156, 159-160 (2d Cir. 2000) (“[b]lanket prohibitions on
defendants’ communications with their attorneys, even for a relatively short period of time, have
been held to violate the Sixth Amendment” and that “as the defendant, his right to counsel
otherwise must remain unconstrained.”); see also Geders v. United States, 425 U.S. 80, 96 (1976)
(forbidding all communication overnight between defendant and his counsel denied defendant’s
Sixth Amendment rights). Defense counsel appreciates the changes made in the Court’s proposed
supplemental protection order to limit the travel restriction to “Sensitive,” or for “Attorneys’ Eyes
Only” materials. However, the government still has not established good cause for such a restriction
as applied to any location outside the United States, regardless of location, internet connection, and
manner of access or transportation of discovery materials. To the extent the Court sees any
restriction on defense access to discovery materials outside the United States appropriate, the
language can and should be more narrowly tailored only to apply to countries in which the

3
 Exhibit C is submitted under seal and a courtesy copy will be provided to the Court, government
counsel, and counsel to Mr. Brayman. Although counsel to Mr. Konoschenok has now signed the
protective order previously entered by the parties and ordered by the Court, in an abundance of
caution, defense counsel to Mr. Yermolenko has not and will not disclose Exhibit C to Mr.
Konoschenok’s counsel at this time, as discovery has not yet been produced to her.
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government has established good cause based on their national security concerns. Defense counsel
has proposed language in paragraph 4 limiting access to “Sensitive” and “Attorneys’ Eyes Only”
materials “to any country specifically enumerated by the government in Appendix A.”4




        Lastly, as noted in defense counsel’s August 16, 2023, second letter in response to the
government’s request for a supplemental protective order, Dkt. No. 72, imposing an affirmative
obligation on defense counsel to report any violation of the protective order could implicate
privileged communications. Attorney-client privilege prohibits such reporting obligations on the
defense. As noted in the government’s letter, a violation of the protective order could result in
disclosure to the Court under Rule 1.6 of the New York Rules of Professional Conduct (i.e. with the
consent of the client or to prevent a client from committing a crime), but it also could trigger other
remedial measures contemplated in Rule 3.3(b), such as retrieval and destruction of any improperly
disclosed materials. See Gov’t Letter Re: Supp. Protective Order (Aug. 16, 2023), Dkt. No. 73 at 13.
Imposing an affirmative, mandatory obligation on defense counsel to report any violation of the
protective order when the mandatory nature of such disclosure under the Rules of Professional
Conduct depends on the nature and circumstances of the violation would jeopardize the defendants’
Sixth Amendment right to counsel. Defense counsel are aware of their professional obligations to
both their clients and the Court and remain prepared to uphold those obligations as required by the
specific factual circumstances of this case, including taking immediate and appropriate steps to
remedy and, if required, disclose, any violation of the protective order.

        Defense counsel has added additional language to paragraph 19 of the Court’s proposed
supplemental protective order to assuage the government’s concerns about remedying violations of
the protective order, without blindly imposing on defense counsel an affirmative, non-fact-specific

4
 Although the government has suggested particular concern regarding travel to Russia and China, as
countries where concerns regarding government control of internet services might increase the risk
of interception of discovery materials, the government has not yet enumerated which countries,
specifically, they find would pose a heightened risk to national security in this case.
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obligation to report all violations, which could implicate privileged communications. Specifically,
paragraph 19 has been amended to state the following: “In the event that Defense Counsel or the
government learns that the terms of this Protective Order have been violated, counsel shall
promptly take all reasonable measures to remedy the violation, including but not limited to deletion
or retrieval of any Discovery Material disseminated or obtained in violation of this Order and/or
notification to the Court, if appropriate.”




        For the foregoing reasons, the Court should modify the proposed supplemental protection
order to include defense counsel’s additional changes.

                                                      Respectfully Submitted,
                                                      /s/ Nora K. Hirozawa
                                                      Nora K. Hirozawa
                                                      Earl Kirkland
                                                      Counsel to Vadim Yermolenko
                                                      Federal Defenders of New York, Inc.

                                                      /s/ Sabrina Schroff
                                                      Sabrina Shroff
                                                      Counsel to Vadim Konoshchenok
